CaSe 2:OB‘AU‘\ZOWSESPCW|ANDQUWBHP2\1'€€)|1?1`4‘€£1'1©61/@2¢65<$1~:|?39€ 1 Of 2 Page|D 13

 

 

 

 

1. cm.mls'r./mv, cons 2. PERSON ltEPnEsF.NTED vouanR woman '
TNW Trottcr, Jeonifcr
3_:\1AG.DKT./1)EF.N1)MBER 4. olsr. DKT.mF.F. NL'MBER s. APPEALS oKT./r)sr. nuMoER n. oman m<'r. NUMBER ff.{\)`
2:05-020223-002 c "

 

7.|1\' CASF.NA'|'TF.R OF
U.S. v. Trottcr FeIOny

(Case Name) 8. l’AYMEN T CATEGORY

 

 

9. TYvF. PF.RSoN REPRESENTED
Adult Defenclant

10.REP RESENTAT[ON TYPE
(See lostruction§) t

. . 73-"*». \"i'
Cnmmal Ca§€t__}' i"'-~`¢{_ 13

 

 

 

l l. OFFENSE(S) CH ARGED [Cite U.S. Codc, T'lt|e & Section)

Il`roore than one oll'e

nsn. list top to live] major ofl'mses charged, according to severity ol'r>i`l'ense. 'h

l) 21 846:€ D.F -- CONSP]RACY TO DISTR]BUTE CONTROLLED SUBSTANCE

blm .
f ; ~~
nyc

 

12. ATTORNEY'S NA:\"[E (Fir§t Nnole, M.l., l.ast l\'ame, including any sufm}
AND MA]LlNC ADDRESS

LEFFLER, STEPHEN R.
707 Adams Ave
MEMPHIS TN 38105

'l`e|ep|mne Numher:

 

l4. NA.VIE ANI] MAILING ADDRESS OF LA“! FlRM (onlyprovide per instructinlls}
STEPHEN R. LEFFI_,ER LAW OFFICE
707 Adams Avcoue
MEMPHIS TN 38105

 

13. COURT ORUF.R

® 0 Appointing Counsel

n F` Subs l"or Fetleral Det'ender
i:i P Suhs For l’anel Attorney

m C Co-(_`ounse|
i:i R Suhs Fnr Hetainerl Attorney
ij Y StandhyCounsel

Prior Attorney's l\'ame:

 

Appointmem Date:

ll Because the shove-named person represented has testified under oath or has

otherwise satisfied this court that he or she (l]is financially unable to employ counsel and
ill does not wish to waive counse|` and be
attorney whose name appea;s`

 

_ the interests ofjustice so require, the
ltem 12 s ap[§ninted to represent this person in this case,
l

  

n Other eelnstructions)

Signatllrt‘ %t” l’residing Judicid\O|`i“lccr or By Ordt\r ofthe Court
06/'? (i/'?f)[ii

Date ofUrdcr Nunc Pro 'l`uoc Date

Repaymenl or partial repayment ordered from the person represented for this s ervice at
time ofappointmeltt. [l YES l:] NO

 

 
   

 
 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

  

 

 

 

 

 

 

 

4 M ;cL'AtM FoR“saavt_c_l~_:s mo EXPENSES - ,- , ;~‘:Foncooa'rosr. oN"LYP_ ;>,: z
'I`OTAL .\1ATH/TECH MATI{H`ECH . .
CATEGOR:ES {Anach itemization or mom with dam C§*§Il§§§n AMOUNT AI)JUSTED ADJUSTED AHB{,§H',‘AL
‘ * CLAlMED HOURS AMOUNT ‘ ‘
15. a. Arraignment and/or Flea
h. Bai| and Detention Hearings
c. Motion Hcarings
l .
n d. Trlal
C e. Sentencing Hearings
L‘: f. Revocation Hcarings
tr g. A[Jpeals Court
h. Other (Specify on additional sheets)
(Rate per huur= 3 ) TOTALS:
lh. a. Intcrviews and Confcrences
() . . . .
ill b. Obtalmng and reviewlng records
n c. Legal rese arch and brief writing
f
C d. Travel time
g e. Investigative and Other work aspecin un additional sheets)
l'
‘ (Rm per hour = $ ) TOTALS:
lT. Tra\"el E!penscs (lodging, parking, mcals, mileage, ctc.)
18. Olher Expenses (other than expert, transcripts, etc.)
" `?E" ?; 41 ~, -""-..-» ;-=» »<4‘~4: ,@»>…=
§ CRAND TOTALS (CLAMED?AND 'ADJUSTED): ' 1
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERlOD 0 F SERVICE Z{l. APPOINTMENT TERM]NAT]ON DATE 21. CASE DISP() S[TlON
IF OT'HER 'I`HAN CASE COM PLET|ON
FROM TO
21, CLA[M STATUS [:\ Fina| Paymenl [I lnterim Paymem Numher m Supp|t»meotg| Payment
l{a\'e you previously applied to the court fcr compensation andior remimhurserrlertt for this case'.’ m YES ij NO l!' yen were you paid'.’ ij YES 3 NO
Other than |`rum the caurt, have you, ortoyour knowledge has anyone else. received payment (compensation or anything or va|oe) from any other source in connection with this
rt'presentation'? |:i YES i:i NO Ifyei, give details nn additional sheels.
I swear or affirm the truth or correctness of the above statements
Signature ol`Attorney: I)ate:
M§Z ga APPaovso'ztoa‘PAi‘ncoN'_r-: coU‘RT`:Usti-:'ox~imé _ _
23. ]N COUR'I` CUMP. 24. OUT ()F COURT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 27_ T()TA[. AMT. AFPR fCF.RT
28. SlGN)\TURE OI" 'I`HE PRESIDING JUD[CIAL OFI"ICER DA'[`E llla. JUDGl-`.;‘MAG. .|UD(}E CODFI
29. IN COURT COMP. 30. OUT Ol~` C(]URT COM]". 31. TRAVEL EXPENSF,S 32. OTHER EXPE]\`SES 33. TOTM, AMT. AI’FR()\'F.D
34. SlCNATURE OF ClllEF JUDGE, COURT OF APP EAI,S (OR DELEGATE) l’a) ment [)ATE 34a. .IU[}CE CODE
approved in excess ofthe statutory threshold amount.

 

 

 

 

This docum
with Ruie 55 and/for 32(b)

eot entered on the docket sheeiir\ omp\\doce
FHC:P on

"C>

 

 
 

   

UNITED sTATE DISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of thc document docketed as number 21 in
case 2:05-CR-20223 Was distributed by faX, mail, or direct printing on
.7 unc 22, 2005 to thc parties listcd.

 

 

Stephcn R. Left]cr
LEFFLER LAW OFFICE
707 Adams Ave.
Mcmphis7 TN 38105

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Mcmphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

